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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    HACHIK MASKOVIAN,                           Case No. CV 19-9986-JAK (KK)
11                              Petitioner,
12                        v.                      JUDGMENT
13    RAYBON JOHNSON, Warden,
14                              Respondent.
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17         Pursuant to the Order Accepting Findings and Recommendation of United
18   States Magistrate Judge,
19         IT IS HEREBY ADJUDGED that the Petition is DENIED and this action is
20   DISMISSED with prejudice.
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22   Dated: October 19, 2020
                                              HONORABLE JOHN A. KRONSTADT
23                                            United States District Judge
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